          Case 1:11-cr-00376-LJO-BAM Document 76 Filed 09/21/12 Page 1 of 2


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 3   2500 Tulare Street, Suite 4401
     Fresno, CA 93721
 4   Telephone: (559)497-4000
 5                       IN THE UNITED STATES DISTRICT COURT
 6                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8   UNITED STATES OF AMERICA,               )   CASE NO. 1:11-CR-00376WI-DLB
                                             )
 9                        Plaintiff,         )   STIPULATION AND
                                             )   ORDER FOR CONTINUANCE OF STATUS
10   v.                                      )   CONFERENCE
                                             )
11   ERNESTO SALGADO-GUZMAN,                 )
     DEMETRIO CORTEZ-SALGADO,                )
12   ZEFERINA SALGADO GUZMAN DE              )
     CORTEZ,                                 )
13   VICTORINO BAZANTE-PACHECO               )
     and FLORENCIO MORALES-SOLANO,
14
                          Defendants.
15
           IT IS HEREBY STIPULATED by and between Benjamin B. Wagner,
16
     United States Attorney and Kimberly A. Sanchez, Assistant U.S.
17
     Attorney and Yan Shrayberman, attorney for Ernesto Salgado-Guzman,
18
     Mark Coleman, attorney for Demetrio Cortez-Salgado, Roger Bonakdar,
19
     attorney for Zeferina Salgado Guzman de Cortez, and Hadi Ty Kharazi,
20
     attorney for Florencio Morales-Solano, that the status conference set
21
     for September 24 at 1:00 pm be continued to October 22, 2012 at 1:00
22
     pm. The parties have been involved in plea discussions, and need
23
     additional time to finalize such discussions.          Additionally, the
24
     government is working with defendant’s Florencio Morales-Solano and
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     Victorino Bazante-Pacheco on further investigation involving
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     handwriting analyses, and that examination has not concluded.
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     Codefendant Victorino Bazante-Pacheco requested a continuance of the
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          Case 1:11-cr-00376-LJO-BAM Document 76 Filed 09/21/12 Page 2 of 2


 1   status conference to October 22, 2012, but the parties did not have
 2   all counsels’ concurrence in a continuance when the request was
 3   filed.    The parties further request the Court to enter an Order
 4   finding that the "ends of justice" served by a continuance outweigh
 5   the interest of the public and the defendant in a speedy trial, and
 6   that the delay occasioned by such continuance is excluded from the
 7   Act's time limits pursuant to 18 U.S.C. § 3161(h)(7)(A).
 8
     Dated: September 20, 2012                Respectfully submitted,
 9
                                              BENJAMIN B. WAGNER
10                                            United States Attorney
11
                                         By    /s/ Kimberly A. Sanchez
12                                            KIMBERLY A. SANCHEZ
                                              Assistant U.S. Attorney
13
     Dated: September 20, 2012                /s/ Yan Shrayberman
14                                            YAN SHRAYBERMAN
                                              Attorney for Ernesto Salgado-
15                                            Guzman
16   Dated: September 20, 2012                /s/ Mark Coleman
                                              MARK COLEMAN
17                                            Attorney for Demetrio Cortez-
                                              Salgado
18
     Dated: September 20, 2012                /s/ Roger Bonakdar
19                                            ROGER BONAKDAR
                                              Attorney for Zeferina Salgado
20                                            Guzman de Cortez
21
     Dated: September 20, 2012                /s/ Hadi Ty Kharazi
22                                            HADI TY KHARAZI
                                              Attorney for Florencio Morales-
23                                            Solano
24            IT IS SO ORDERED.
25         Dated:   September 21, 2012                 /s/ Dennis L. Beck
     3b142a                                   UNITED STATES MAGISTRATE JUDGE
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